                 3:17-cv-00443-MGL                Date Filed 02/10/20          Entry Number 91           Page 1 of 1

AO 450 (SCD 04/2010) Judgment in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                     Benjamin P. Fields                                )
                            Plaintiff                                  )
                          v.                                           )      Civil Action No.      3:17-cv-443-MGL
            Richland County, South Carolina                            )
                           Defendant                                   )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                   recover from the defendant (name)              the amount of                dollars ($   ),
which includes prejudgment interest at the rate of            %, plus postjudgment interest at the rate of           %, along with
costs.
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
 other: This case is dismissed without prejudice.


This action was (check one):
’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

 decided by the Honorable Mary Geiger Lewis, United States District Judge.


Date: February 10, 2020                                                      CLERK OF COURT


                                                                                                      s/Debbie Stokes
                                                                                         Signature of Clerk or Deputy Clerk
